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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
____________________________________
                                            :
FRANK HALL, individually and on behalf :
of all others similarly situated,           :
                                            :    Civil Action No.: 18-1833 (FLW)
                           Plaintiff,       :
                                            :                 ORDER
    vs.                                     :
                                            :
JOHNSON & JOHNSON, et al.,                  :
                                            :
                        Defendants.         :
____________________________________:

       THIS MATTER having been opened to the Court by Jack N. Frost, Esq., counsel for

defendants Johnson & Johnson (“J&J”), Alex Gorsky (“Gorsky”), Dominic Caruso (“Caurso”),

Sandra Peterson (“Peterson”), Carol Goodrich (“Goodrich”), Joan Casalvieri (“Casalvieri”),

Michael Sneed (“Sneed”), and Tara Glasgow (“Glasgow”) (collectively, “Defendants”), on a

Motion to Dismiss, pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6); it appearing

that Lead Plaintiff San Diego County Employees Retirement Association (“Plaintiff”), through its

counsel, James E. Cecchi, Esq., opposes the motion; the Court having considered the submissions

of the parties without oral argument, pursuant to Fed. R. Civ. P. 78; for the reasons set forth in the

Opinion filed on this date, and for good cause shown,

       IT IS on this 27th day of December, 2019

       ORDERED that Defendants’ Motion to Dismiss [ECF No. 40] is DENIED IN PART

       AND GRANTED IN PART as follows:

       ORDERED that Plaintiff’s Section 10(b) and Rule 10b-5 claims are limited to those

       stemming from Defendants’ statements regarding the safety of its Talc Products, the

       “asbestos-free” nature of its talc, and the Company’s commitment to product safety, quality
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      assurance, and research and that Plaintiff’s claims based upon Defendants’ alleged

      misstatements about the viability of the Product Liability lawsuits are dismissed; it is

      further

      ORDERED that all claims against defendants Caruso, Peterson, and Sneed are

      dismissed.



                                                                /s/ Freda L. Wolfson
                                                                Freda L. Wolfson
                                                                U.S. Chief District Judge
